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                                           April 14, 2021

The Honorable Andrew W. Austin                                                               Via ECF
United States District Court
Austin, Texas 78701

Re:     Case No. 6:16-cv-00173-RP-AWA consolidated with 6:17-CV-228-RP-AWA and 6:17-CV-236-
        RP-AWA; Jane Doe 1, et al. v. Baylor University; In the United States District Court for the
        Western District of Texas – Waco Division; Defendant’s Advisory in Response to Court’s
        April 12, 2021 Order

Dear Judge Austin:

         Baylor reached its numbers by first reviewing the documents that UnitedLex categorized as
either “Variance” or “No Comparison File Provided.” From there, Baylor used the Accounting Log
(Doc. 904, Ex. D) and Hard Copy Materials Index (Doc. 910, Ex. A-1) to subtract out: (1) documents
dated post-June 15, 2016; (2) documents that, as of May 12, 2020, Baylor had confirmed on the
Accounting Log were logged or produced to Plaintiffs prior to the UnitedLex audit; and (3) files that
were unreadable due to a technical or scanning error. Baylor’s specific calculation is detailed below.
The number differs from the 2,480 number discussed in Baylor’s prior briefing, because that number
identified the number of documents dated prior to June 15, 2016 that UnitedLex claimed were not
provided to it for the audit—a number which included documents that were actually logged or
produced to Plaintiffs prior to the audit. As explained in further detail below, it is a different calculation
than the two numbers the Court ordered to be calculated for the prior advisory.

I.      Calculation of documents not produced prior to the UnitedLex audit

       Baylor excluded any documents that were identified on the Accounting Log as non-responsive,
previously logged, previously produced, withheld by agreement, or system-generated files. It then
focused its analysis on the remaining documents that were identified on the Accounting Log as “Newly
Produced” or “Newly Logged.” In contrast, based on its conference with the Plaintiffs, Baylor
understands that Plaintiffs’ calculation includes documents that Baylor confirmed on the Accounting
Log were previously logged or previously produced.

        A. “Variance”

        Because Baylor did not identify any documents as “Newly Produced” in this category, it did
not include any documents from it in its calculation of documents dated prior to June 15, 2016 that
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had not been previously produced to Plaintiffs. Plaintiffs, on the other hand, included the 511
“Variance” documents that Baylor confirmed on the Accounting Log were previously produced to
Plaintiffs.

        B. “No Comparison File Provided”

         The Accounting Log identified 2,793 documents as “Newly Produced” under the “No
Comparison File Provided” category. Baylor began with this number, while Plaintiffs included in their
calculation 743 documents that Baylor had confirmed on the Accounting Log were previously
produced.

         Baylor then subtracted from the “Newly Produced” number 1,641 documents that included
the phrase “Post June 15, 2016” in the “Explanation” column of the Accounting Log. Plaintiffs
excluded only those where the explanation began with the phrase “Post June 15, 2016.” Their
calculation includes 94 documents where the “explanation” used other language, such as “Binder
prepared post June 15, 2016.”

        There was also one document identified on the Hardcopy Materials Log as being part of a
post June 15, 2016 binder regarding a non-Investigation matter. Finally, a manual review of the
documents revealed another 30 documents that on their face are dated after June 15, 2016. Baylor
subtracted this number from its total, while Plaintiffs included these 31 documents in their calculation.

        This left 1,121 documents dated prior to June 15, 2016. Of those, Baylor excluded the
following from its count of documents that were not produced prior to the UnitedLex audit:

       2 documents are scans of hard copy documents that are so unreadable that there is not enough
        text to even identify the document to compare it to previously produced or logged documents.
        The lack of readability is noted in the “Explanation Category” of the Accounting Log. See
        Doc. 904, Exh. D at 431 (CONTROL0028349) & 434 (CONTROL0028506).

       1 document is a scan of a hard copy document where it is noted on the Hard Copy Materials
        Index that it is a “technical issue” document that could not be read, and therefore, there is no
        way to compare it to previously logged or produced documents. See Doc. 910, Ex. A-1 at 19
        (CONTROL0028536).

       1 document is a scan of a hard copy document where it is noted on the Hard Copy Materials
        Index that it was also previously produced. See Doc. 910, Ex. A-1 at 48 (CONTROL0026545).

       1 document is a corrupted version of SMS (or “text messages”), identified in the Accounting
        Log’s “Match” Category as “Reviewed–SMS.”                See Doc. 904, Ex. D at 155
        (CONTROL0006159). As explained in Baylor’s prior briefing, the text message files were
        previously logged or produced and attorney-selected texts were included in the witness
        interview preparation binders that were logged in April 2019. Baylor therefore excluded this
        document from the count. See Dkt. 913 at 11-12 (Section III.A.4.b) & Exh. B at ¶ 4(b).

       2 documents are scans of the outside of a file folder and a cover page for a folder containing
        a printout of documents that were all logged or produced prior to the audit, as explained in
        the “Explanation Category” of the Accounting Log and the “Notes” column of the Hard Copy
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             Materials Index. See Doc. 904, Ex. D at 425-26 (CONTROL0027899 & 0027980); Doc. 913,
             Ex. A-1 at 47 (same).

         This resulted in Baylor’s calculation of 1,114 pre-June 15, 2016 documents that may not have
been produced prior to the UnitedLex audit. The difference between Baylor’s calculation and
Plaintiffs’ calculation of documents not previously produced is summarized in the below table:

     1,114     Baylor’s calculation
    + 511      “Variance” documents identified in Accounting Log as previously produced
               “No Comparison File Provided” documents identified in Accounting Log as previously
    + 743
               produced
               Documents identified on Accounting Log with language such as “Binder prepared post
    + 94
               June 15, 2016”
    + 1        Document identified on hardcopy materials log as post June 15, 2016
    + 30       Documents identified on their face as post June 15, 2016
    + 7        Unreadable, non-substantive, and previously produced SMS and hardcopy documents
     2,500      Plaintiffs’ calculation of not previously produced documents

II.          Calculation of documents not logged prior to the UnitedLex audit

             A. “Variance”

        Baylor identified only one document as “Newly Logged.”1 However, the Accounting Log also
explained that this was a hardcopy document (identified in the Accounting Log’s “Match” Column as
“Reviewed–HARDCOPY”), which means that additional information about the document is
contained in the Hard Copy Materials Index. The Hardcopy Materials Index identifies this document
as being previously logged multiple times in the PH production.2 Therefore, Baylor did not include
this document in its document totals. Baylor understands that Plaintiffs included this previously
logged document in their calculation, as well as all 3,300 documents that Baylor had confirmed on the
Accounting Log were previously logged.

             B. “No Comparison File Provided”

       There were 3,326 documents identified as “Newly Logged” under the “No Comparison File
Provided” category on the Accounting Log. Baylor subtracted from that number the 1,998 documents
as “Post June 15, 2016” documents. As detailed above, the explanations for these items all included
the phrase “Post June 15, 2016” in the “Explanation” column on the Accounting Log.

        This left 1,328 documents dated prior to June 15, 2016. Of those, Baylor excluded the
following from its count of documents that were not logged prior to the UnitedLex audit:



1
 This document is identified with CONTROL0027932 in the Accounting Log’s UL DocID column.
See Doc. 904, Ex. D at p. 426.
2
 See Doc. 910, Ex. A-1 at p. 48, showing CONTROL0027932 had been logged prior to the UnitedLex
Audit at PH_3001173, PH_3001188, PH_3001203, and PH_3001218.
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           198 documents identified as previously logged in the Accounting Log’s “Explanation”
            column.

           3 documents identified on the Hard Copy Materials Index as previously logged. Doc. 913,
            Ex. A-1 at 19 (CONTROL0028433), 47 (CONTROL0028052) & 48 (CONTROL0027885).

           12 documents that included a portion of a previously logged email. These documents were
            identified in the “Explanation Category” of the Accounting Log as having a “more inclusive
            email logged” with a PH bates-label listed. Exclusion of these materials is consistent with the
            Stipulated Order regarding Discovery of Electronically Stored Information, which requires
            only that parties produce or log a single copy of a responsive email. See Doc. 176.

           258 documents containing SMS texts, identified in the Accounting Log’s “Match” Category
            as “Reviewed–SMS.” As explained above, these text messages were previously logged or
            produced by Custodian, in addition to being logged as part of the attorney binders they were
            included in, and therefore should be excluded from the count. See ECF 913 ¶4(b).

          This resulted in Baylor’s calculation of 857 pre-June 15, 2016 documents that may not have
been logged prior to the UnitedLex audit. Plaintiffs included all the documents from the above bullets
in their calculation, as well as documents identified as “Previously Logged” on the Accounting Log
and documents where the “Explanation” column on the Accounting Log did not begin with the phrase
“Post June 15, 2016” but did include other language indicating the document was prepared after June
15, 2016 (such as, “Binder prepared post June 15, 2016”). The difference in the parties’ calculations
is illustrated in the below table:

     857         Baylor’s calculation
 + 3,300         “Variance” documents identified on Accounting Log as previously logged
 +     1         “Variance” document identified on the Hard Copy Materials Index as previously logged
                 “No Comparison File Provided” documents identified on Accounting Log as previously
 +         250
                 logged
                 Documents identified on Accounting Log with language such as “Binder prepared post
 +         690
                 June 15, 2016”
 +         198   “No Comparison File Provided” documents identified in “Explanation” column of
                 Account Log as previously logged
 +          3    “No Comparison File Provided” documents identified in “Notes” column of Hard Copy
                 Materials Index as previously logged
 +         12    “No Comparison File Provided” documents identified on Accounting Log as lesser
                 included versions of previously logged documents
 +       258     Previously produced or logged SMS documents
       5,569      Plaintiffs’ calculation of not previously logged documents

III.        Why Baylor said the documents may not have been previously produced or logged.

       Baylor used the word “may” in its calculation because it has known since it produced the
Accounting Log on May 12, 2020 that, with more time, it could have manually matched additional
documents identified by UnitedLex as “No Comparison File Provided” to previously logged or
produced duplicates. See R. Newman Decl., Dkt. 910-3 at ¶ 8(a); see also Dkt. 913 at 13 (Section
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III.A.4.d). In its joint advisory, Baylor felt constrained to provide a calculation based solely on the
information provided in the Accounting Log or available on the face of the documents because (i) the
Court’s 3-31-21 order requiring the submission of a number relied on Baylor’s prior briefing and the
numbers derived from the Accounting Log, (ii) the Plaintiffs had not had an opportunity to review
Baylor’s analysis of the newly matched documents, and (iii) the Court did not wish for additional
briefing from the parties. Baylor, however, could not stipulate that none of the documents included in
its calculation were previously logged or produced when its counsel knew that, in fact, some had been.
For example, since producing the Accounting Log, Baylor has matched an additional 73 documents
to previously logged documents and five to previously produced documents. Baylor also matched an
additional 99 emails that were part of a previously logged email chain and one document that was
previously produced as part of a longer email chain. These 178 documents were included in Baylor’s
calculations for the April 7, 2021 advisory in the “Newly Logged” number. Subtracting the 178 Baylor
has now matched from the 857 above, results in 679 pre-June 15, 2016 documents that were not
logged prior to the UnitedLex audit.

IV.    The 2,480 number of documents UnitedLex labeled as “No Comparison File
       Provided” includes items that were logged or produced to Plaintiffs prior to the audit.

        The Court referenced Baylor’s statement in its prior briefing that, “[o]f the 8,257 documents
that UnitedLex could not match because it did not have a comparison file, 2,480 were pre-June 15,
2016.” This number from Baylor’s November 2020 briefing was not a calculation of the two
categories of documents requested by the Court on March 31, 2021. Although 2,480 is the number
of documents dated prior to June 15, 2016 that UnitedLex classified as “No Comparison File
Provided,” some of these documents were in fact provided to UnitedLex (or are duplicates of
documents that were). Others that were not provided to UnitedLex as part of the audit; were logged or
produced to Plaintiffs prior to the audit. For example, PWC’s export to UnitedLex inadvertently failed
to include some documents that actually were previously logged or produced to Plaintiffs, and some
of the previously produced documents had a “JD” Bates label and thus were not provided to
UnitedLex for the comparison. See Doc. 913 at 7-8 (Section III.A.3), & 14 (Section III.A.4.e). In
short, the number from Baylor’s prior briefing and the number from the most recent advisory are
different because they answer different questions.

V.     Conclusion

        The task of producing and logging more than 1.3 million documents, reviewing and comparing
33,377 documents initially identified by UnitedLex as not matched to files maintained by another law
firm, and then categorizing and calculating numbers related to that comparison project is complex,
detail-oriented work. Baylor has also provided Plaintiffs and the Court with a detailed accounting of
documents in the possession of Pepper Hamilton that neither Baylor nor its trial counsel had in its
possession until the documents were provided to UnitedLex, who in turn provided them to Baylor.
Baylor and its counsel have approached that work with diligence and in good faith. Sanctions are not
warranted.

                                               Respectfully submitted,



                                               Holly G. McIntush
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                                   CERTIFICATE OF SERVICE


        I certify that a copy of this letter has been served on Plaintiffs’ counsel in accordance with the
rules of the court:

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